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                      EXHIBIT A
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                    943 F.3d 1243                                West Headnotes (14)
     United States Court of Appeals, Ninth Circuit.

    PAINTERS AND ALLIED TRADES DISTRICT                          [1]   Federal Courts
     COUNCIL 82 HEALTH CARE FUND, third-                                   Pleading
    party healthcare payor fund; Annie M. Snyder,                      The Court of Appeals reviews de novo the
        a California consumer; Rickey D. Rose, a                       district court’s grant of a motion to dismiss for
      Missouri consumer; John Cardarelli, a New                        failure to state a claim. Fed. R. Civ. P. 12(b)(6).
   Jersey consumer; Marlyon K. Buckner, a Florida
       consumer; Sylvie Bigord, a Massachusetts
      consumer, on behalf of themselves and all                  [2]   Federal Civil Procedure
    others similarly situated, Plaintiffs-Appellants,                      Clear or certain nature of insufficiency
                            v.                                         Federal Civil Procedure
     TAKEDA PHARMACEUTICALS COMPANY                                         Matters deemed admitted; acceptance as
                                                                       true of allegations in complaint
      LIMITED, a Japanese Corporation; Takeda
           Pharmaceuticals U.S.A., fka Takeda                          In deciding a motion to dismiss for failure to state
        Pharmaceuticals North America, Inc., an                        a claim, a court takes factual allegations in the
                                                                       complaint as true, and will grant the motion only
    Illinois corporation; Eli Lilly and Company, an
                                                                       if it appears beyond doubt that the plaintiff can
      Indiana corporation, Defendants-Appellees.
                                                                       prove no set of facts in support of the claim which
                        No. 18-55588                                   would entitle him to relief. Fed. R. Civ. P. 12(b)
                              |                                        (6).
                Argued and Submitted June
                6, 2019 Seattle, Washington
                              |                                  [3]   Racketeer Influenced and Corrupt
                   Filed December 3, 2019                              Organizations
                                                                           Constitutional and statutory provisions
Synopsis
                                                                       Although the Racketeer Influenced and Corrupt
Background: Health insurer and consumers filed putative
                                                                       Organizations Act (RICO) statute was originally
class action against pharmaceutical company, alleging civil
                                                                       enacted to combat organized crime, it is also
Racketeer Influenced and Corrupt Organizations Act (RICO)
                                                                       used for everyday fraud cases brought against
violations based on company's refusal to change warning
                                                                       respected and legitimate enterprises. 18 U.S.C.A.
label on diabetes drug or otherwise inform consumers after
                                                                       § 1962.
company learned that drug caused increased risk of bladder
cancer. The United States District Court for the Central
District of California, Stephen V. Wilson, J., dismissed the
                                                                 [4]   Racketeer Influenced and Corrupt
action. Plaintiffs appealed.
                                                                       Organizations
                                                                           Elements of violation in general
                                                                       To recover for a civil Racketeer Influenced and
[Holding:] The Court of Appeals, Bea, Circuit Judge, in                Corrupt Organizations Act (RICO) violation, a
a matter of first impression, held that plaintiffs plausibly           plaintiff must prove that the defendant engaged
alleged the element of proximate cause, as required to support         in (1) conduct (2) of an enterprise (3) through a
civil RICO claim.                                                      pattern (4) of racketeering activity. 18 U.S.C.A.
                                                                       § 1962.
Reversed and remanded.




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                                                                            Causal relationship; direct or indirect injury
 [5]    Racketeer Influenced and Corrupt
                                                                       The proximate cause requirement for a civil
        Organizations
                                                                       Racketeer Influenced and Corrupt Organizations
            Business, property, or proprietary injury;
                                                                       Act (RICO) claim demands some direct relation
        personal injuries
                                                                       between the injury asserted and the injurious
        Racketeer Influenced and Corrupt                               conduct alleged. 18 U.S.C.A. § 1964(c).
        Organizations
            Causal relationship; direct or indirect injury
        To allege civil Racketeer Influenced and Corrupt        [10]   Racketeer Influenced and Corrupt
        Organizations Act (RICO) standing, a plaintiff                 Organizations
        must show: (1) that his alleged harm qualifies as                  Causal relationship; direct or indirect injury
        injury to his business or property; and (2) that his
                                                                       The less direct an injury is, the more difficult it
        harm was by reason of the RICO violation. 18
                                                                       becomes to ascertain the amount of a plaintiff’s
        U.S.C.A. § 1964(c).
                                                                       damages attributable to the violation, as distinct
                                                                       from other, independent, factors, for purpose
                                                                       of determining proximate causation in a civil
 [6]    Racketeer Influenced and Corrupt                               Racketeer Influenced and Corrupt Organizations
        Organizations                                                  Act (RICO) claim. 18 U.S.C.A. §§ 1962,
            Causal relationship; direct or indirect injury             1964(c).
        To support a claim for a civil Racketeer
        Influenced and Corrupt Organizations Act
        (RICO) violation, both proximate and but-for            [11]   Racketeer Influenced and Corrupt
        causation must be shown. 18 U.S.C.A. § 1964(c).                Organizations
                                                                           Causal relationship; direct or indirect injury
                                                                       Proximate cause in a civil Racketeer Influenced
 [7]    Racketeer Influenced and Corrupt                               and Corrupt Organizations Act (RICO) claim is
        Organizations                                                  a flexible concept that does not lend itself to
            Causal relationship; direct or indirect injury             a black-letter rule that will dictate the result in
        The requirement of proximate cause to prove                    every case. 18 U.S.C.A. §§ 1962, 1964(c).
        a civil Racketeer Influenced and Corrupt
        Organizations Act (RICO) claim seeks to limit
        a person’s responsibility to the consequences of        [12]   Racketeer Influenced and Corrupt
        that person’s own acts. 18 U.S.C.A. § 1964(c).                 Organizations
                                                                           Causal relationship; direct or indirect injury
                                                                       Consumers who purchased diabetes drug and
 [8]    Racketeer Influenced and Corrupt                               health insurer who reimbursed consumers
        Organizations                                                  plausibly stated the element of proximate cause,
            Causal relationship; direct or indirect injury             as required to support civil Racketeer Influenced
        The proximate cause requirement necessary to                   and Corrupt Organizations Act (RICO) claim
        support a Racketeer Influenced and Corrupt                     against pharmaceutical company, where they
        Organizations Act (RICO) claim generally bars                  alleged that, but for the pharmaceutical
        suits for alleged harm that is too remote from                 company's failure to change warning label on
        the defendant’s unlawful conduct. 18 U.S.C.A. §                diabetes drug or otherwise inform consumers
        1964(c).                                                       after manufacturer learned that drug caused
                                                                       increased risk of bladder cancer, they would not
                                                                       have paid for the drug. 18 U.S.C.A. §§ 1962,
 [9]    Racketeer Influenced and Corrupt                               1964(c).
        Organizations


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        1 Cases that cite this headnote                         Appeal from the United States District Court for the Central
                                                                District of California, Stephen V. Wilson, District Judge,
                                                                Presiding, D.C. No. 2:17-cv-07223-SVW-AS
 [13]   Racketeer Influenced and Corrupt
        Organizations                                           Before: Carlos T. Bea, Jacqueline H. Nguyen, and Paul J.
            Causal relationship; direct or indirect injury
                                                                Watford * , Circuit Judges.
        In determining the proximate cause element
        of a civil Racketeer Influenced and Corrupt
        Organizations Act (RICO) claim, the court
                                                                                          OPINION
        considers the risk of multiple recoveries by
        plaintiffs at different levels of injury from the       BEA, Circuit Judge:
        defendant's acts. 18 U.S.C.A. §§ 1962, 1964(c).
                                                                 *1246 Today we confront an issue of first impression in
                                                                our circuit, and one that has caused an apparent circuit split
 [14]   Racketeer Influenced and Corrupt                        among four of our sister circuits: In civil actions brought
        Organizations                                           under the Racketeer Influenced and Corrupt Organizations
            Causal relationship; direct or indirect injury      Act (“RICO”) against pharmaceutical companies, do patients
                                                                and health insurance companies who reimbursed patients
        In determining the proximate cause element
                                                                adequately allege the required element of proximate cause
        of a civil Racketeer Influenced and Corrupt
                                                                where they allege that, but for the defendant’s omitted
        Organizations Act (RICO) claim, a court
                                                                mention of a drug’s known safety risk, they would not have
        considers whether holding the defendant liable in
                                                                paid for the drug?
        the case justifies the general interest of deterring
        injurious conduct or whether there are more
        directly injured victims that the court can count
        on to hold the defendant liable. 18 U.S.C.A. §§                       I. FACTUAL BACKGROUND
        1962, 1964(c).
                                                                This appeal arises from a putative class action against
                                                                Takeda Pharmaceuticals USA, Inc., its parent company
                                                                Takeda Pharmaceutical Company Ltd., and Eli Lilly & Co.
                                                                (collectively, “Defendants”). Together, Defendants developed
Attorneys and Law Firms                                         and marketed a drug named Actos. Actos was intended to
                                                                lower blood sugar in type 2 diabetics. Defendants obtained
 *1245 R. Brent Wisner (argued) and Michael L. Baum,            Food and Drug Administration (“FDA”) approval for Actos
Baum Hedlund Aristei & Goldman PC, Los Angeles,                 in 1999. The plaintiffs allege that despite learning through
California; Christopher L. Coffin and Nicholas R. Rockforte,    multiple studies over the next several years that Actos
Pendley Baudin & Coffin LLP, New Orleans, Louisiana; for        increased a patient’s risk of developing bladder cancer,
Plaintiffs-Appellants.                                          Defendants refused to change Actos’s warning label or
                                                                otherwise inform the public of such risk. Further, the plaintiffs
Jonathan S. Franklin (argued), Norton Rose Fulbright US         allege that Defendants convinced the FDA that studies
LLP, Washington, D.C.; Darryl W. Anderson and Geraldine         revealing that Actos increased the risk of bladder cancer
W. Young, Norton Rose Fulbright LLP, Houston, Texas;            were wrong. Defendants are alleged to have actively misled
for Defendants-Appellees Takeda Pharmaceuticals Company         prescribing physicians, consumers, and third-party payors
Limited and Takeda Pharmaceuticals U.S.A.                       into believing that Actos did not increase a person’s risk of
                                                                developing bladder cancer. Defendants did all of this, the
Randall L. Christian (argued) and Susan E. Burnett, Bowman
                                                                plaintiffs allege, simply to increase their profits from the sale
and Brooke LLP, Austin, Texas, for Defendant-Appellee Eli
                                                                of Actos.
Lilly and Co.

                                                                On September 17, 2010, after further studies of Actos
                                                                revealed an increased risk of bladder cancer, the FDA


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announced that it was conducting a safety review of Actos.        pocket sum for Actos. Patients each allege that neither they
On June 15, 2011, the FDA released an official warning to the     nor their physicians knew about Actos’s risk of bladder cancer
public that Actos may be linked to bladder cancer in patients     when they began taking the drug and that they immediately
who use it over prolonged periods of time. Following the          stopped taking Actos once they learned that it increased their
FDA’s official warning, Defendants changed Actos’s warning        risk of developing bladder cancer. Patients also allege that
label to warn of a bladder cancer risk. The sales of Actos        they never would have purchased Actos had they known
are alleged to have dropped shortly after the FDA issued its      that it increased their risk of developing bladder cancer,
alert in 2010, and then again when the FDA issued its official    and thus, that they never would have submitted claims for
warning in 2011, by a total of approximately 80%.                 reimbursement for purchases of Actos to their respective
                                                                  TPPs. Only one patient, Annie Snyder from California,
A group of patients who developed bladder cancer after            alleges that prior to starting her prescription, she read and
ingesting Actos and their family members then brought             relied upon the Actos label. But Plaintiffs generally allege
personal injury and wrongful death claims against Defendants      that Patients relied on Defendants’ misrepresentations about
in the Western District of Louisiana. After a 37-day trial in     Actos, by act or omission, in purchasing the drug, that
2014, the jury returned a verdict in favor of the plaintiffs,     physicians relied on such misrepresentations in prescribing
but the parties later agreed to a global settlement program for   Actos for their patients, and that TPPs relied on such
all eligible personal injury claimants who used Actos before      misrepresentations in agreeing to pay for Actos prescriptions
December 1, 2011 and had been diagnosed with bladder              for their members.
cancer. In re Actos (Pioglitazone) Prods. Liab. Litig., MDL
No. 6:11-MD-2299, 274 F. Supp. 3d 485, 503 (W.D. La.              Plaintiffs seek to represent a class of similarly situated
2017).   1                                                        patients and TPPs “who paid or incurred costs for the drug
                                                                  Actos, for purposes other than resale, between 1999, i.e.,
The present action was also originally filed in the Western       when the drug was approved, and the present,” excluding
District of Louisiana. But in late 2017, the parties stipulated   “those consumers who are presently seeking a personal injury
to transfer the case to the Central District of California. The   claim arising out of their use of Actos.” Plaintiffs argue that
plaintiffs in this case comprise five individual patients from    Defendants conspired to commit mail and wire fraud under 18
different states (collectively, “Patients”) and Painters and      U.S.C. §§ 1341, 1343 by intentionally misleading physicians,
Allied Trades District Council 82 *1247 Health Care Fund          consumers, and TPPs to believe that Actos did not increase
(“Painters Fund”) (together, “Plaintiffs”).                       a person’s risk of developing bladder cancer. Plaintiffs seek
                                                                  to recover economic damages under RICO for the payments
Painters Fund is a third-party payor (“TPP”) of health and        they made to purchase Actos under the assumption that it
welfare benefits to covered members and their families.           was a safe drug, which they allege they would not have
As a TPP, Painters Fund reimburses its members’ claims            purchased had they known that Actos increases a person’s
for drugs, including Actos, submitted by pharmacies and           risk of developing bladder cancer (this is called the “quantity
healthcare providers covered by its plan. Painters Fund           effect theory” of damages). 3 Plaintiffs do not, however, seek
“relies on each member to submit claims for prescription          to recover economic or non-economic damages caused by any
medications that are medically reasonable and necessary           person’s actual ingestion of Actos.
for treatment,” with the expectation that patients and their
prescribing physicians will “make informed decisions about        The district court dismissed with prejudice Plaintiffs’ RICO
which drugs will be prescribed and, in turn, submitted to         claims under *1248 Federal Rule of Civil Procedure
[Painters Fund] for reimbursement.” Painters Fund “has the        12(b)(6) in a single paragraph, holding that Plaintiffs
authority to determine which drugs are covered under its          failed adequately to allege facts sufficient to establish that
plan, although, [it] entrusts the administration of claims and    Defendants’ acts and omissions were the proximate cause of
formulary determinations to Prime Therapeutics, LLC, based        their claimed damages. This appeal followed. 4
                        2
in Eagan, Minnesota.”

Patients are individuals with type 2 diabetes who were
                                                                                         II. ANALYSIS
prescribed Actos by their physicians and who took Actos to
help lower their blood sugar. Each patient paid an out-of-        A. Standard of Review


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 [1] [2] We review de novo the district court’s grant of a            it “demand[s] ... some direct relation between the injury
Rule 12(b)(6) motion to dismiss. Bain v. Cal. Teachers Ass’n,         asserted and the injurious conduct alleged.” Holmes, 503 U.S.
891 F.3d 1206, 1211 (9th Cir. 2018). We take all of Plaintiffs’       at 268, 112 S.Ct. 1311.
factual allegations as true, and we may affirm the dismissal
“only if it appears beyond doubt that [Plaintiffs] can prove no        [10] This “direct relation” requirement is based upon three
set of facts in support of [their] claim[s] which would entitle       practical factors, stated in Holmes:
[them] to relief.” Id. (internal quotation marks omitted).

                                                                                  First, the less direct an injury is, the
B. Plaintiffs’ RICO Claims
                                                                                  more difficult it becomes to ascertain
 [3]    [4] The crux of Plaintiffs’ complaint rests on their
                                                                                  the amount of a plaintiff’s damages
civil RICO claims. Although the RICO statute was originally
                                                                                  attributable to the violation, as distinct
enacted to combat organized crime, “it has become a tool for
                                                                                  from other, independent, factors.
everyday fraud cases brought against respected and legitimate
                                                                                  Second, quite apart from problems of
enterprises.” Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 499,
                                                                                  proving factual causation, recognizing
105 S.Ct. 3275, 87 L.Ed.2d 346 (1985) (internal quotation
                                                                                  claims of the indirectly injured would
marks omitted). Broadly speaking, there are two parts to a
                                                                                  force courts to adopt complicated
civil RICO claim. The civil RICO violation is defined under
                                                                                  rules apportioning damages among
18 U.S.C. § 1962, 5 while “RICO standing” is defined under                        plaintiffs removed at different levels
18 U.S.C. § 1964(c). The district court dismissed Plaintiffs’                     of injury from the violative acts,
RICO claims only for lack of standing, and thus we address                        to obviate the risk of multiple
only that portion of Plaintiffs’ RICO claims.                                     recoveries. And, finally, the need to
                                                                                  grapple with these problems is simply
 [5] To allege civil RICO standing under 18 U.S.C. § 1964(c),                     unjustified by the general interest
a “plaintiff must show: (1) that his alleged harm qualifies                       in deterring injurious conduct, since
as injury to his business or property; and (2) that his harm                      directly injured victims can generally
was ‘by reason of’ the RICO violation.” Canyon County v.                          be counted on to vindicate the law as
Syngenta Seeds, Inc., 519 F.3d 969, 972 (9th Cir. 2008).                          private attorneys general, without any
Defendants do not dispute that Plaintiffs have alleged an                         of the problems attendant upon suits by
injury to their business or property. Rather, as the district court               plaintiffs injured more remotely.
held, Defendants argue that Plaintiffs have failed to allege
that their harm was “by reason of” the alleged RICO violation
because they have failed to allege the claimed RICO violation
                                                                      Id. at 269–70 (internal citations omitted). The Supreme Court
was the proximate cause of their claimed losses.
                                                                      has applied the Holmes factors, along with its direct relation
                                                                      requirement, in each of its decisions addressing proximate
   1. Supreme Court Precedent                                         cause for civil RICO claims.
 [6] [7] [8] [9] The Supreme Court has interpreted the
phrase “by reason of” in 18 U.S.C. § 1964(c) to require,     In Anza v. Ideal Steel Supply Corp., the plaintiff—a steel
as elements for a civil RICO recovery, both proximate and    mill product retailer in New York City—alleged that one
                                                             of its retail competitors caused it economic harm by failing
but-for causation. 6 Holmes v. Sec. Inv’r Prot. Corp., 503
                                                             to charge customers applicable New York state sales taxes,
U.S. 258, 268, 112 S.Ct. 1311, 117 L.Ed.2d 532 (1992). The
                                                             thereby defrauding the New York state tax authority. 547 U.S.
requirement of proximate cause seeks to “limit a person’s
                                                             451, 457–58, 126 S.Ct. 1991, 164 L.Ed.2d 720 (2006). This
responsibility for the consequences of that person’s own
                                                             conduct, the plaintiff alleged, allowed the defendant to offer
acts.” Id. Put another way, “the proximate-cause requirement
                                                             lower prices and attract more customers, which in turn caused
generally bars suits for alleged harm that is ‘too remote’
                                                             the plaintiff to lose customers and profit. Id. The district
from the defendant’s *1249 unlawful conduct.” Lexmark
                                                             court dismissed the plaintiff’s complaint under Rule 12(b)(6)
Int’l, Inc. v. Static Control Components, Inc., 572 U.S.
                                                             for failure to plead proximate cause, but the Second Circuit
118, 133, 134 S.Ct. 1377, 188 L.Ed.2d 392 (2014). Thus,
                                                             vacated the district court’s judgment, holding that the plaintiff


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had adequately pleaded that the defendant proximately caused
its damages. Id. at 455, 126 S.Ct. 1991. The Supreme Court            In contrast, in Bridge v. Phoenix Bond & Indemnity Co., the
then reversed the Second Circuit’s judgment and held that the         Supreme Court affirmed the Seventh Circuit’s reversal of
plaintiff failed to satisfy the requirement to allege proximate       the district court’s order dismissing the plaintiffs’ complaint
cause under RICO because the “direct victim of this conduct           for failure sufficiently to allege the proximate cause element
was the State of New York, not [the plaintiff].” Id. at 458,          under RICO. 553 U.S. 639, 645, 661, 128 S.Ct. 2131, 170
126 S.Ct. 1991. Indeed, “[i]t was the State that was being            L.Ed.2d 1012 (2008). The plaintiffs were bidders at a county
defrauded and the State that lost tax revenue as a result.”           tax lien auction. Id. at 643, 128 S.Ct. 2131. To ensure
Id. Although the plaintiff alleged that it suffered its own           fair distribution of tax liens during the auctions, the county
harms by losing customers and profits through the defendant’s         enacted a “Single, Simultaneous Bidder Rule,” requiring each
failure to tax its customers, the plaintiff’s asserted harms were     “tax [lien] buying entity” to bid in its own name and not to
“entirely distinct from the alleged RICO violation (defrauding        use agents or employees to submit simultaneous bids on its
the state),” and thus the plaintiff’s allegations failed the          behalf. Id. The plaintiffs alleged that the defendants violated
Supreme Court’s direct relation requirement for the element           that rule by using agents to submit simultaneous bids on the
of proximate cause. Id.                                               defendants’ behalf and directing those agents to file false
                                                                      attestations that they had complied with the county’s rules.
Likewise, in Hemi Group, LLC v. City of New York, the                 Id. at 643–44, 128 S.Ct. 2131. The plaintiffs alleged that
Supreme Court reversed the Second Circuit’s holding that              this deceptive practice resulted in the defendants receiving
the plaintiffs had sufficiently alleged damages proximately           a disproportionately higher share of tax liens at the county
caused by the defendants’ actions under RICO to survive               auction. Id. The plaintiffs further alleged that as a result of
dismissal under Rule 12(b)(6). 559 U.S. 1, 4–5, 130 S.Ct.             this deceptive practice, they were deprived of their ability to
983, 175 L.Ed.2d 943 (2010). There, the City of New York              obtain their fair share of tax liens at the county auction. Id. at
(the “City”), which imposed a $1.50-per-pack tax on each              644, 128 S.Ct. 2131.
pack of cigarettes possessed within New York City for sale
or use, sued a New Mexico retailer that sold cigarettes online         [11] The defendants countered that the plaintiffs’ alleged
to residents in New York City. Id. at 4–6, 130 S.Ct. 983. The         harm was too speculative to satisfy RICO’s proximate
City alleged that the New Mexico *1250 retailer failed to             cause requirement because the defendants misrepresented
comply with a federal law requiring out-of-state vendors to           information to the county, not the plaintiffs. Id. at 648,
submit customer information to the states into which it ships         128 S.Ct. 2131. But a unanimous Supreme Court rejected
cigarettes. Id. at 4, 130 S.Ct. 983. That failure, the City argued,   this argument, noting that proximate cause is “a flexible
not only made it more difficult for the City to track down            concept that does not lend itself to a black-letter rule that will
people who possessed cigarettes in New York City purchased            dictate the result in every case.” Id. at 654, 128 S.Ct. 2131
elsewhere, but also constituted mail and wire fraud under             (internal quotations omitted). Applying its direct relation
RICO, which caused the City to lose millions of dollars in            requirement, the Supreme Court held that the plaintiffs’
uncollected per-pack cigarette taxes. Id.                             “alleged injury—the loss of valuable liens—is the direct
                                                                      result of [the defendants’] fraud. It was a foreseeable and
The Supreme Court disagreed. It held that the New Mexico              natural consequence of [the defendants’] scheme to obtain
retailer’s failure to submit customer information to the State        more liens for themselves that other bidders would obtain
of New York was too attenuated from the City’s loss of                fewer liens.” Id. at 658, 128 S.Ct. 2131. And unlike in Anza
cigarette possession tax proceeds to satisfy the proximate            and Hemi Group, where other parties suffered more direct
cause allegation requirement. See id. at 11, 130 S.Ct. 983.           injuries than the plaintiffs, in Bridge, the county—which sold
The Supreme Court explained that the conduct constituting             the tax liens at prices not dependent on who was the buyer—
the alleged fraud was the New Mexico retailer’s failure to            was not injured. Id. Rather, the plaintiffs were the immediate
submit customer information to the State of New York, but             victims of the defendants’ fraud and were best situated to
“the conduct directly responsible for the City’s harm was the         sue the defendants. Id. Thus, the Supreme Court held that
customers’ failure to pay their taxes.” Id. Thus, “the conduct        the *1251 plaintiffs had sufficiently alleged proximate cause
directly causing the harm was distinct from the conduct giving        under RICO. Id. at 661, 128 S.Ct. 2131.
rise to the fraud,” and therefore the City failed to satisfy the
Supreme Court’s direct relation requirement. Id.



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 [12] Under the Supreme Court’s Bridge precedent alone,             [14] Finally, under the third Holmes factor, we consider
we think Plaintiffs’ allegations satisfy the Supreme Court’s       whether holding Defendants liable in this case justifies the
direct relation requirement. Here, the alleged violation is that   general interest of deterring injurious conduct or whether
Defendants actively concealed Actos’s risk of causing bladder      there are more directly injured victims we can count on
cancer to sell more Actos to unsuspecting persons, thereby         to hold Defendants liable. 503 U.S. at 269–70, 112 S.Ct.
increasing Actos’s revenue. And Plaintiffs’ alleged injury is      1311. Here, patients and TPPs who paid money for Actos
that they purchased Actos prescriptions for which they would       are the most direct victims of those who suffered economic
not have paid had they been warned about Actos’s risk of           injury. Although people who ingested Actos and developed
bladder cancer. Because Plaintiffs were immediate victims          bladder cancer suffered an additional and greater harm than
of Defendants’ alleged fraudulent scheme to conceal Actos’s        others who paid for Actos but did not develop bladder
risk of bladder cancer, the alleged RICO violation (conspiracy     cancer, this does not change the fact that all patients and
to commit mail and wire fraud violative of 18 U.S.C. §§ 1341,      TPPs who paid for Actos on the premise that it did not
1343) has a direct relation to Plaintiffs’ alleged harm.           cause an increased risk of bladder cancer were allegedly
                                                                   defrauded by Defendants and suffered the same direct
The Holmes factors also weigh in favor of permitting               economic injury: payments for a drug which would not have
Plaintiffs’ RICO claims to proceed. The first Holmes factor        been purchased if suitably described. Additionally, others
tasks us with determining whether it would be too difficult        may have been affected by Defendants’ alleged fraud. For
to ascertain what damages are attributable to Defendants’          instance, prescribing physicians who prescribed Actos for
alleged RICO violation, as opposed to factors other than,          their patients may have watched their patients develop bladder
and independent of, Defendants’ alleged misrepresentations.        cancer. But as far as we can tell from Plaintiffs’ complaint,
503 U.S. at 269, 112 S.Ct. 1311. While “it is often easier         prescribing physicians did not suffer an economic injury.
to ascertain the damages that flow from actual, affirmative        Thus, holding Defendants liable for Plaintiffs’ alleged injuries
conduct, than to speculate what damages arose from a party’s       advances the interest in deterring injurious conduct, without
failure to act,” Oregon Laborers-Employers Health & Welfare        including others who did not suffer direct out-of-pocket
Trust Fund v. Philip Morris Inc., 185 F.3d 957, 965 (9th           losses.
Cir. 1999) (internal quotation marks omitted), we are not
persuaded that it is so difficult here that Plaintiffs should be
                                                                      2. Circuit Court Precedent
denied the opportunity to prove their damages. 7 We leave it
                                                                   While our court has recognized the Supreme Court’s direct
to the district court on remand to assess Plaintiffs’ damages,
                                                                   relation requirement and Holmes factors for RICO proximate
if the litigation proceeds to that phase.
                                                                   cause in several cases, see, e.g., Harmoni International Spice,
                                                                   Inc. v. Hume, 914 F.3d 648 (9th Cir. 2019); Canyon County,
 [13] Second, we consider the risk of multiple recoveries by
plaintiffs at different levels of injury from the defendants’      519 F.3d at 972; Oregon Laborers, 185 F.3d at 963–66, 9 we
acts. Holmes, 503 U.S. at 269, 112 S.Ct. 1311. Here, like          have never applied it *1253 to the situation at issue here—
in Bridge, and unlike in Anza and Hemi Group, there is no          whether patients and TPPs suing pharmaceutical companies
concern of “duplicative recoveries by plaintiffs removed at        for concealing an allegedly known safety risk about a drug can
different levels of injury from the violation.” Bridge, 553        satisfy RICO’s proximate cause requirement. 10 But several
U.S. at 658, 128 S.Ct. 2131. It is each individual plaintiff       of our sister circuits have addressed this question in similar
who paid out money for Actos prescriptions who now seeks           factual scenarios and have reached different results, creating
recovery of those payments. As we read Plaintiffs’ complaint,      an apparent inter-circuit split. We look to their reasoning for
the damages suffered by Patients and Painters Fund do not          guidance.
overlap, as it appears that Patients seek to recover only the
dollars they paid for Actos out-of-pocket, for which they
have not been reimbursed by a TPP. 8 Further, Plaintiffs’                               a. Seventh Circuit
putative class expressly excludes individuals *1252 who are
pursuing personal injury claims, so there is no risk that some     In Sidney Hillman Health Center v. Abbott Laboratories,
plaintiffs will receive overlapping economic and personal          two TPPs who had paid to cover their patients’ off-label 11
injury damages.                                                    uses of a prescription drug named Depakote sued the
                                                                   drug manufacturer under RICO for concealing its role in


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promoting Depakote’s off-label uses to intermediaries, such           Similarly, in UFCW Local 1776 v. Eli Lilly & Co., TPPs and
as prescribing physicians. 873 F.3d 574, 575 (7th Cir. 2017).         individual patients brought a putative class action for civil
In relevant part, the district court dismissed the TPPs’              RICO fraud against the manufacturer of the drug Zyprexa,
complaint for failure to allege that their damages were               alleging that the manufacturer misrepresented Zyprexa’s
proximately caused by the drug manufacturer’s concealed off-          side effects and effectiveness to physicians and promoted
label promotion, and the Seventh Circuit affirmed. Id. at 575,        Zyprexa for off-label uses when there was no evidence that
578.                                                                  Zyprexa was effective for off-label uses. 620 F.3d 121, 123,
                                                                      129 (2d Cir. 2010). The plaintiffs alleged two damages
The Seventh Circuit first noted that, in some cases, an injury        theories: (1) the “excess price theory”—that they overpaid
to one person caused by wrongs against another can satisfy            for Zyprexa prescriptions because the manufacturer relied
RICO’s proximate cause requirement, as *1254 the Supreme              on its misrepresentations to charge higher prices; and (2)
Court held in Bridge, 553 U.S. at 661, 128 S.Ct. 2131. 873            the “quantity effect theory”—that they paid for Zyprexa
F.3d at 576. However, the Seventh Circuit held that the TPPs          prescriptions “that would not have been issued but for the
in Sidney Hillman were too far removed from the alleged               alleged misrepresentations.” Id. The district court certified
RICO violation to satisfy the proximate cause requirement.            a class of TPPs based upon their excess price theory for
Id. The Seventh Circuit opined that while TPPs “part with             damages, but the Second Circuit reversed. Id. at 123, 137.
money ... it is not at all clear that they are the initially
injured parties, let alone the sole injured parties.” Id. The         As to the proximate cause requirement under RICO, the
Seventh Circuit explained that patients may be the most               Second Circuit held that the plaintiffs’ injuries under both of
directly injured parties, as they incurred financial loss (if they    their damages theories were too attenuated, as they “rest[ ]
paid a copayment to receive Depakote) and personal injury             on the independent actions of third and even fourth parties.”
damages if they suffered harmful effects from using Depakote          Id. at 134 (quoting Hemi Group, 559 U.S. at 15, 130 S.Ct.
for an unsafe off-label use. Id. Moreover, the Seventh Circuit        983). The Second Circuit was not persuaded by the plaintiffs’
noted, the “patients’ health and financial costs come first in        argument that “the ultimate source for the information
line temporally; that pharmacies then send bills to [TPPs],           on which doctors based their prescribing decisions was
which cover the remainder of the expense, does not make               [the manufacturer] and its consistent, pervasive marketing
those [TPPs] the initial losers” from the drug manufacturer’s         plan,” because the manufacturer was “not ... the only
unlawful promotion scheme. Id. The Seventh Circuit opined             source of information on which doctors based prescribing
that prescribing physicians may also suffer loss, though              decisions.” Id. at 135 (emphasis in original). Rather, “[a]n
indirectly, because “[i]f a physician prescribes an ineffective       individual patient’s diagnosis, past and current medications
medicine and so does not provide [patients] help, patients may        being taken by the patient, *1255 the physician’s own
turn elsewhere.” Id.                                                  experience with prescribing Zyprexa, and the physician’s
                                                                      knowledge regarding the side effects of Zyprexa are all
The Seventh Circuit next explained that physicians make               considerations that would have been taken into account in
independent decisions when prescribing patients medicine,             addition to the alleged misrepresentations distributed by [the
and it would be difficult to disentangle which physicians’            manufacturer].” Id. Accordingly, the Second Circuit held
decisions, if any, were influenced by the drug manufacturer’s         that the plaintiffs failed to allege that their damages were
unlawful promotions. Id. at 577–78. That, and other factors,          proximately caused by the drug manufacturer’s wrongful
such as the fact that some patients may have benefited from           conduct and reversed the district court’s certification order. 12
using Depakote for an off-label use, convinced the Seventh            Id. at 134, 136; see also Sergeants Benevolent Ass’n Health &
Circuit that it would be too difficult to calculate the plaintiffs’   Welfare Fund v. Sanofi-Aventis U.S. LLP, 806 F.3d 71, 90–91
alleged damages. Id. Thus, the Seventh Circuit held that the          (2d Cir. 2015) (holding that the plaintiff’s RICO claims were
TPPs—“several levels removed in the causal sequence” from             foreclosed by UFCW Local 1776, 620 F.3d at 121).
the drug manufacturer’s actions—could not satisfy RICO’s
proximate cause requirement. Id. at 576–78.

                                                                                              c. First Circuit

                       b. Second Circuit                              To the contrary, in In re Neurontin Marketing & Sales
                                                                      Practices Litigation, a jury awarded Kaiser Foundation


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Health Plan (“Kaiser”), a TPP, damages for the injury
it suffered in paying for off-label Neurontin prescriptions
                                                                                           d. Third Circuit
that were induced by Pfizer’s (the drug manufacturer)
fraudulent scheme to misrepresent Neurontin’s effectiveness         Similarly, in In re Avandia Marketing, Sales Practices &
for off-label conditions. 712 F.3d 21, 25–26 (1st Cir.              Product Liability Litigation, the Third Circuit held that the
2013). The district court had found that Kaiser relied on           TPP plaintiffs sufficiently alleged proximate cause for their
Pfizer’s fraudulent marketing campaign in deciding to include       civil RICO claims. 804 F.3d 633, 634 (3d Cir. 2015). There,
Neurontin in its formulary—a list of medications its treating       TPPs filed a putative class action against the defendant
physicians were authorized to prescribe. Id. at 28–29. The          alleging under RICO that the defendant misrepresented
district court subsequently denied Pfizer’s motion for a new        significant heart-related safety risks associated with the
trial, and Pfizer appealed. Id. at 27.                              drug Avandia. Id. at 634–36. The plaintiffs alleged that
                                                                    they included Avandia in their formularies and covered it
Pfizer argued that Kaiser could not satisfy RICO’s proximate        at favorable rates for their members in reliance on the
cause requirement as a matter of law. Id. at 34. But the            defendant’s misrepresentations about Avandia’s safety. Id.
First Circuit disagreed, holding that “Kaiser has met both the      at 636. The plaintiffs also alleged that physicians relied on
direct relationship and functional tests articulated in Holmes      the defendant’s misrepresentations in deciding to prescribe
and its progeny.” Id. at 38. Unlike the Second and Seventh          Avandia and that they would have prescribed it to fewer
Circuits, the First Circuit rejected the argument that there        patients if the defendant had not concealed its safety risks. Id.
were “too many steps in the causal chain between [Pfizer’s]         The district court held that the plaintiffs adequately alleged
misrepresentations and Kaiser’s alleged injury” to meet the         that the defendant proximately caused their damages but
“direct relation” requirement. Id. Rather, the First Circuit held   certified its decision for interlocutory appeal. Id. at 637.
that “the causal chain in this case is anything but attenuated,”
because Pfizer “has always known that, because of the               The Third Circuit affirmed. Applying the Supreme Court’s
structure of the American health care system, physicians            direct relation requirement, the Third Circuit held that “[t]he
would not be the ones paying for the drugs they prescribed.”        conduct that allegedly caused [the] plaintiffs’ injuries is the
Id. at 38–39. Pfizer’s fraudulent marketing scheme, which           same conduct forming the basis of the RICO scheme alleged
was meant to increase its sales and profits, “only became           in the complaint—the misrepresentation of the heart-related
successful once Pfizer received payments for the additional         risks of taking Avandia that caused TPPs ... to place Avandia
Neurontin prescriptions it induced.” Id. at 39. Those payments      in the formulary.” Id. at 644. Next, looking to the Holmes
came from TPPs, including Kaiser. Id.                               factors, the Third Circuit noted that it would not be too
                                                                    difficult to distinguish between the damages attributable to the
The First Circuit also rejected Pfizer’s argument that “because     defendant’s alleged violation from other independent factors,
doctors exercise independent medical judgment in making             and that at the pleadings stage, the question of damages was
decisions about prescriptions, the actions of these doctors         “a question for another day.” Id. Further, the Third Circuit
are independent intervening causes” that cut off the chain          observed that the plaintiffs were best situated to sue, as the
of causation. Id. The First Circuit explained that “Pfizer’s        plaintiffs’ alleged injury “is an economic injury independent
scheme relied on the expectation that physicians would base         of any physical injury suffered by Avandia users,” and
their prescribing decisions in part on Pfizer’s fraudulent          “prescribing physicians did not suffer RICO injury from [the
marketing.” Id. “The fact that some physicians may have             defendant’s] marketing of Avandia.” Id.
considered factors other than Pfizer’s detailing materials
in making their prescribing decisions does not add such             The Third Circuit, like the First Circuit, rejected the
attenuation to the causal chain as to eliminate proximate           defendant’s argument that “the presence of intermediaries,
cause”; rather, “[t]his is a damages question” about the “total     doctors and patients, destroys proximate cause because they
number of prescriptions that were attributable to Pfizer’s          were the ones who ultimately decided whether to rely on
actions.” Id. Finally, the *1256 First Circuit noted that           [the defendant’s] misrepresentations.” Id. at 645. The Third
“[h]olding Pfizer liable will have an effect in deterring           Circuit explained that “drug manufacturers are well aware
wrongful conduct,” and thus it held that Kaiser had satisfied       that TPPs cover the cost of their drugs” and the defendant’s
the proximate cause requirement under RICO. Id. at 39–40.           “fraudulent scheme could have been successful only if [the]
                                                                    plaintiffs paid for Avandia, [which] is the very injury that [the]



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plaintiffs seek recovery for.” Id. Thus, the plaintiffs’ alleged    paying for the drugs they prescribed.” Neurontin, 712 F.3d at
injury had a direct relation to the alleged RICO violation.         38–39. Rather, they are well aware that TPPs and individual
Id. Therefore, the Third Circuit affirmed the district court’s      patients pay for the drugs. See Avandia, 804 F.3d at 645.
holding that the plaintiffs adequately alleged RICO proximate       Defendants’ alleged fraudulent marketing scheme, which was
cause at the pleadings stage. Id. at 645–46.                        intended to increase Actos’s sales, “only became successful
                                                                    once [they] received payments for the additional [Actos]
                                                                    prescriptions [they] induced”—the very injury for which
                                                                    Plaintiffs seek recovery. Neurontin, 712 F.3d at 39. This is
            e. Circuit Court Precedent Analysis
                                                                    consistent with the Supreme Court’s requirement that the
Although each of these four circuit court opinions arises under     proximate cause inquiry focus on the direct relation between
similar factual scenarios, factual and procedural distinctions      the alleged violation and alleged injury. Hemi Group, 559
exist between them. For example, the Third and Seventh              U.S. at 12, 130 S.Ct. 983.
Circuits’ opinions confronted the issue whether the plaintiffs
could satisfy the proximate cause requirement under RICO at         If we were to hold the opposite—that prescribing physicians’
the pleadings stage, whereas the Second Circuit considered          and pharmacy benefit managers’ decisions constitute an
the issue at the class certification stage, and the Third Circuit   intervening cause to sever the chain of proximate cause
reviewed the issue post-trial. *1257 Further, while the             —as the Second and Seventh Circuits have held, drug
Second, Third, and Seventh Circuit cases involved putative          manufacturers would be insulated from liability for their
class actions, the First Circuit’s opinion involved a single TPP.   fraudulent marketing schemes, as they could continuously
But these minor factual and procedural differences do not           hide behind prescribing physicians and pharmacy benefit
help us resolve the central dispute between the Second and          managers. That is not the purpose the requirement *1258
Seventh Circuits’ reasoning and the First and Third Circuits’       of proximate cause is intended to serve. Proximate cause
reasoning.                                                          exists to “limit a person’s responsibility for the consequences
                                                                    of that person’s own acts.” Holmes, 503 U.S. at 268, 112
Indeed, it seems the central dispute between the Second and         S.Ct. 1311. Here, Plaintiffs seek to hold Defendants liable
Seventh Circuits and the First and Third Circuits is whether        for the consequences of their own acts and omissions toward
the decisions of prescribing physicians and pharmacy benefit        Plaintiffs: the money spent by Plaintiffs to purchase Actos.
managers constitute intervening causes that sever the chain of
                                                                    There is also a difference between fraudulent promotion of
proximate cause between the drug manufacturer and TPP. 13
                                                                    “off-label” uses for a prescription drug as in Sidney Hillman,
We think the First and Third Circuits have it right because
                                                                    873 F.3d at 575 and UFCW Local 1776, 620 F.3d at 127, and
their reasoning is more consistent with the Supreme Court’s
                                                                    fraudulent failure to warn of a drug’s known risk of causing
direct relation requirement.
                                                                    bladder cancer, as in this case.
In this case, although prescribing physicians serve as
                                                                    It was recognized in both Sidney Hillman and UFCW Local
intermediaries between Defendants’ fraudulent omission
                                                                    1776 that the drug manufacturer’s fraudulent promotion
of Actos’s risk of causing bladder cancer and Plaintiffs’
                                                                    of a prescription drug for off-label uses was not the
payments for Actos, prescribing physicians do not constitute
                                                                    only basis upon which the prescribing physicians relied in
an intervening cause to cut off the chain of proximate cause.
                                                                    prescribing the drug. In Sidney Hillman, the Seventh Circuit
An intervening cause is “a later cause of independent origin
                                                                    noted that it would be too difficult to disentangle which
that was not foreseeable.” Mendez v. County of Los Angeles,
                                                                    physicians’ prescribing decisions, if any, were influenced
897 F.3d 1067, 1081 (9th Cir. 2018) (quoting Exxon Co.
                                                                    by the defendants’ unlawful promotion of the prescription
v. Sofec, 517 U.S. 830, 837, 116 S.Ct. 1813, 135 L.Ed.2d
                                                                    drug for off-label uses. 873 F.3d at 577–78. Similarly, in
113 (1996)). Here, since Actos was a prescription drug, it
                                                                    UFCW Local 1776, the Second Circuit noted that the drug
was required to be prescribed by physicians. Hence, it was
                                                                    manufacturer’s unlawful promotion of the prescription drug
perfectly foreseeable that physicians who prescribed Actos
                                                                    for off-label uses was not the only source of information
would play a causative role in Defendants’ alleged fraudulent
                                                                    upon which the prescribing physicians based their decisions
scheme to increase Actos’s revenues. Further, “because of the
                                                                    to prescribe the drug. 620 F.3d at 135.
structure of the American health care system,” Defendants
have always known that “physicians would not be the ones


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Echoing the first factor of Holmes, the failure to warn of the       and misrepresentations to satisfy RICO’s proximate cause
bladder cancer risk in this case makes Plaintiffs’ damages           requirement.
more clearly “attributable to [Defendants’] violation.” 503
U.S. at 269, 112 S.Ct. 1311. The damages claimed from off-
label uses in Sidney Hillman and UFCW Local 1776 are                    3. Reliance
less directly attributable to the alleged false promotions. It       As a threshold matter, any argument that Patients have not
is much more likely that Actos’s risk of causing a disease           alleged that they relied on Defendants’ misrepresentations
as serious as bladder cancer would materially influence              and omissions lacks merit. Each patient alleged that had
prescribing physicians’ decisions whether to prescribe Actos.        he “known that Actos increased the risk of causing bladder
Plaintiffs’ allegations confirm this theory, as they allege that a   cancer, he would never have purchased and ingested the
survey conducted by Defendants in 2003 showed that 75% of            drug.” Additionally, Patients alleged that they “relied on
surveyed physicians’ interest in a different oral anti-diabetic      Defendants’ ... misrepresentations of Actos’[s] safety in
drug declined “greatly” once they learned that it carried a risk     purchasing the drug.” These statements are sufficient to allege
of causing bladder cancer. Further, Plaintiffs allege that those     that Patients relied on Defendants’ misrepresentations.
survey results are confirmed by their allegation that sales of
Actos decreased approximately 80% once the FDA issued its            Next, the Supreme Court has explained that if there is a direct
official warning that Actos may be linked to bladder cancer          relationship between a defendant’s wrongful conduct and a
in patients who use it over a prolonged period of time. Taking       plaintiff’s alleged injury, a RICO plaintiff who did not directly
those allegations as true, as we must, the question whether          rely on the defendant’s omission or misrepresentation can still
prescribing physicians would not have been influenced by             satisfy the requirement of proximate causation of damages.
Defendants’ alleged fraudulent omission is less concerning in        Recall that in Bridge the defendants’ misrepresentations
this case than it was to the Second and Seventh Circuits.            that they complied with the county’s “Single, Simultaneous
                                                                     Bidder Rule” were made to the tax lien selling county, not
Moreover, the Seventh Circuit’s distinction that TPPs’               to the plaintiff tax lien buyers. 553 U.S. at 648, 128 S.Ct.
injuries are too far removed from the drug manufacturer’s            2131. But the Supreme Court held that it was sufficient to
fraudulent scheme to satisfy the RICO proximate cause                establish proximate cause between the defendants’ alleged
requirement because they are not “the sole injured parties”          wrongful conduct and the plaintiffs’ alleged injury that the
and because individual patients’ “health and financial costs         county had relied on the defendants’ false attestations. See
come first in line temporally” misses the mark. Sidney               id. at 658–59, 128 S.Ct. 2131. What mattered most in the
Hillman, 873 F.3d at 576. The Supreme Court has never made           RICO proximate causation inquiry was whether there was a
a distinction about temporal proximity of the plaintiffs to the      direct relationship between the alleged RICO violation and
damages caused to others when evaluating whether a plaintiff         the plaintiffs’ alleged injury. See id. And there was. The
has adequately alleged that the defendant proximately caused         plaintiffs’ “alleged injury—the loss of valuable [tax] liens—
the plaintiff’s damages under RICO. Additionally, the fact           [was] the direct result of ... [the defendants’] scheme to obtain
that individual patients and TPPs both suffered economic             more liens for themselves.” Id. at 658, 128 S.Ct. 2131.
injuries from a drug manufacturer’s fraudulent scheme does
not mean that one group of plaintiffs should be favored to           In so holding, the Supreme Court expressly rejected the
recover over the other, so long as they both suffered the            defendants’ argument that “[direct] reliance is an element of a
same economic injuries from the drug manufacturer’s *1259            civil RICO claim predicated on mail fraud.” 553 U.S. at 646–
same misconduct. Finally, the Seventh Circuit’s comment              49, 128 S.Ct. 2131. The Supreme Court explained that the
that prescribing physicians may suffer indirect loss does not        civil RICO statute has no reliance requirement on its face, and
attenuate the chain of causation so far as to break it. See          a person may be injured “by reason of” another person’s fraud
id. Even if prescribing physicians suffer an indirect loss           even if the injured party did not rely on any misrepresentation.
such as reputational harm for prescribing an ineffective or          Id. at 648–49, 128 S.Ct. 2131. Nonetheless, the Supreme
unsafe drug, they are not out of pocket for the price of the         Court noted that it “may well be that a RICO plaintiff alleging
drug and thus do not suffer the same economic loss as do             injury by reason of a pattern of mail fraud must establish
individual patients and TPPs. For these reasons, we agree            at least [indirect] reliance in order to prove causation.” 553
with the First and Third Circuits that Plaintiffs’ damages           U.S. at 658–59, 128 S.Ct. 2131. This is because, logically,
are not too far removed from Defendants’ alleged omissions           a plaintiff cannot even establish but-for causation if no one
                                                                     relied on the defendant’s alleged misrepresentation. Id.


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                                                                      that it would be difficult for Painters Fund to determine
                                                                      with specificity exactly which doctors relied on Defendants’
Despite this precedent, Defendants argue that Painters Fund
                                                                      alleged misrepresentations. All that is required of Painters
failed to allege reliance on Defendants’ omissions of Actos’s
bladder cancer risk, since Painters Fund expressly alleged            Fund at this stage is to allege that someone in the chain of
that, as a TPP, it “relies on [its] members and their prescribers     causation relied on Defendants’ alleged misrepresentations
to make informed decisions about which drugs will be                  and omissions, which it has done here. Thus, we hold that
prescribed and, in turn, submitted to Plaintiff Painters Fund         Plaintiffs have adequately alleged the reliance necessary to
for reimbursement.” This argument is also *1260 meritless.            satisfy RICO’s proximate cause requirement.
Like in Bridge, where it was sufficient to satisfy RICO’s
proximate cause requirement that the county (a third party)
had relied on the defendants’ false attestations, here, it is                              III. CONCLUSION
sufficient to satisfy RICO’s proximate cause requirement that
Painters Fund alleged that prescribing physicians (also third         While we express no opinion on Plaintiffs’ chances of success
parties, but not intervening causes) relied on Defendants’            in this litigation as it proceeds, we hold that Plaintiffs have
misrepresentations and omissions.                                     satisfactorily alleged that Defendants proximately caused
                                                                      their claimed damages at the pleadings stage. We reverse the
Finally, Defendants argue that even if Painter’s Fund                 district court’s judgment dismissing Plaintiffs’ RICO claims
has alleged indirect reliance, its general allegations of             under Rule 12(b)(6) for lack of RICO standing, and we
indirect reliance—i.e., that prescribing physicians relied on         remand to the district court for further proceedings consistent
Defendants’ misrepresentations and omissions in prescribing           with this disposition.
Actos for their patients, which Painters Fund then reimbursed
—are insufficient, because Painters Fund should have
                                                                      All Citations
alleged with specificity exactly which prescribing physicians
were misled by Defendants’ alleged misrepresentations.                943 F.3d 1243, RICO Bus.Disp.Guide 13,268, 19 Cal. Daily
Remembering that this case is before us at the pleadings              Op. Serv. 11,605, 2019 Daily Journal D.A.R. 11,219
stage and without the benefit of discovery, we recognize


Footnotes
*       Judge Watford was drawn to replace Judge Rawlinson. Judge Watford has read the briefs, reviewed the record, and
        watched the recording of oral argument held on June 6, 2019.
1       No argument has yet been made in this action that the settlement encompassed the plaintiffs’ RICO claims or mooted
        them.
2       Prime Therapeutics, LLC is not a party to this litigation and is not discussed elsewhere in the complaint.
3       Plaintiffs originally alleged a second damages theory—that they overpaid for Actos prescriptions because Defendants
        inflated the price of Actos under the guise that Actos did not increase a person’s risk of developing bladder cancer—
        called the “excess price theory.” But Plaintiffs have abandoned their excess price theory for damages on appeal.
4       Plaintiffs also brought claims under state consumer protection laws of California, Florida, Massachusetts, Minnesota,
        Missouri, and New Jersey. In a separate order, the district court dismissed all of Plaintiffs’ state law claims. With the
        exception of their Massachusetts claim, Plaintiffs also appeal the dismissal of their state law claims. We address those
        claims in a concurrently filed memorandum disposition.
5       To recover for a civil RICO violation, “a plaintiff must prove that the defendant engaged in (1) conduct (2) of an enterprise
        (3) through a pattern (4) of racketeering activity.” Chaset v. Fleer/Skybox Int’l, LP, 300 F.3d 1083, 1086 (9th Cir. 2002)
        (citing 18 U.S.C. § 1962).
6       Defendants do not argue in this appeal that Plaintiffs’ allegations fail to allege but-for causation.
7       We note that Defendants’ argument that had Plaintiffs not taken Actos, they would have paid for an alternative drug to
        treat their type 2 diabetes, has not fallen on deaf ears. It seems quite logical that Plaintiffs would have paid for a different
        drug to treat patients’ diabetes had they known that Actos increases a person’s risk of developing bladder cancer. But
        at this stage in the proceedings, we take Plaintiffs’ allegations that they would not have bought or paid for Actos as true.
        Bain, 891 F.3d at 1211. Plaintiffs do not allege that they would have paid for an alternative diabetes drug had they known
        Actos carries an increased risk of causing bladder cancer. Further, if what Defendants argue proves true, Plaintiffs may



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       still be entitled to damages if the alternative drugs they would have paid for cost less than Actos. Plaintiffs have alleged
       there are at least three less expensive alternatives to Actos, and discovery may prove Plaintiffs were likely to have bought
       these alternatives. In any event, this is a damages question for another day.
8      Of course, on remand, if discovery reveals that Patients’ claimed damages overlap with damages claimed by Painters
       Fund or another TPP, Plaintiffs should not recover any overlapping damages.
9      Oregon Laborers, the case most closely related to the present action in this circuit to date, is distinguishable. There, six
       employee health and welfare benefit plans sued tobacco companies and public relations companies under federal RICO
       and other antitrust and state laws. 185 F.3d at 961. The plaintiffs alleged that the defendants conspired to persuade the
       public that scientific studies linking smoking to health risks were not accurate and that the connection between smoking
       and disease was merely an “open controversy.” Id. The plaintiffs alleged that this wrongful conduct “resulted in more
       smoking, less quitting, and smoking of more hazardous cigarettes” among their plan participants, which then resulted in
       more disease among their plan participants who smoked. Id. at 962. In turn, the plaintiffs alleged, they suffered higher
       expenditures to cover their plan participants’ medical bills. Id.
       The district court held that the plaintiffs failed to state a RICO claim for relief under Rule 12(b)(6), and we affirmed.
       Id. at 961. We held that the plaintiffs’ alleged injury was “indirect” and too remote to satisfy RICO’s proximate cause
       requirement. Id. at 963. We explained that “all of [the] plaintiffs’ claims rely on alleged injury to smokers—without any
       injury to smokers, [the] plaintiffs would not have incurred the additional expenses in paying for the medical expenses of
       those smokers.” Id. (second emphasis added). Instead of the plaintiffs, we reasoned, the smokers were the direct victims
       of the defendant’s alleged wrongful conduct. Id. at 964. Thus, under the Supreme Court’s direct relation requirement,
       we held that the alleged RICO violation was distinct from the plaintiffs’ alleged injury. See id. at 963–64. Therefore, the
       plaintiffs failed to allege that their damages were proximately caused by the defendants’ actions. See id. at 966.
       Plaintiffs’ alleged injury in this case is distinct from the plaintiffs’ alleged injury in Oregon Laborers. There, the chain of
       causation from the defendant’s alleged misrepresentation to the plaintiffs’ alleged injury depended upon an independent
       link that required the smokers to develop illnesses that necessitated medical treatment, for which the plaintiffs then paid.
       But here, Plaintiffs’ alleged injury is directly related to Defendants’ alleged misrepresentations, as they allege that they
       paid money out-of-pocket for Actos, which they otherwise would not have paid had Defendants not fraudulently omitted
       Actos’s risk of causing bladder cancer. Whether Plaintiffs developed bladder cancer is irrelevant to their claims. Thus,
       Oregon Laborers is distinguishable and does not control here.
10     The Seventh Circuit once commented that the Ninth Circuit “deem[s] this [issue] so straightforward that [it] ha[s] issued
       nonprecedential decisions” about it. Sidney Hillman Health Ctr. v. Abbott Labs., 873 F.3d 574, 578 (7th Cir. 2017).
       Not quite. Rather, in In re Actimmune Marketing Litigation, we summarily affirmed the district court’s dismissal without
       prejudice of the plaintiffs’ RICO claims where the district court held in part that the plaintiffs’ complaint failed sufficiently
       to plead proximate cause for their civil RICO claim for lack of specificity under Federal Rule of Civil Procedure 8(a). 464
       F. App'x 651 (9th Cir. 2011) (citing In re Actimmune Mktg. Litig., 614 F. Supp. 2d 1037, 1050–51 (N.D. Cal. 2009)). When
       the plaintiffs filed their amended complaint, they abandoned their RICO claims. See In re Actimmune Mktg. Litig., No. C
       08-02376 MHP, 2009 WL 3740648, at *1 (N.D. Cal. Nov. 6, 2009). Our summary affirmance of the district court’s decision
       to dismiss the plaintiffs’ RICO claims without prejudice can hardly be considered a decision on the merits of the issue
       that we deemed “so straightforward” as to issue a non-binding decision.
       In United Food & Commercial Workers Central Pennsylvania & Regional Health & Welfare Fund v. Amgen, Inc., the
       plaintiffs sued Amgen, Inc. for concealing adverse test results about a drug’s off-label uses. 400 F. App'x 255, 257 (9th
       Cir. 2010). We held that the plaintiffs’ complaint failed to identify false statements or material omissions that Amgen made
       about the drug’s safety. Id. Further, we held that the plaintiffs failed to plead a cognizable theory of proximate cause for
       their civil RICO claim because the complaint “proffered an attenuated causal chain that involved at least four independent
       links”—(1) the United States Pharmacopeia-Drug Information (“USP-DI”)’s listing of the drug to be used for a certain off-
       label use; (2) Medicare’s decision to cover the drug for that off-label use; (3) third-party payors’ decision to cover the drug
       for the off-label use; and (4) doctors’ decisions to prescribe the drug for the off-label use. Id. But we never independently
       addressed whether patients and TPPs can meet RICO’s proximate cause requirement under the Supreme Court’s direct
       relation requirement and Holmes factors to hold pharmaceutical companies liable for mail and wire fraud. Further, our
       present case does not require as many causal links. And of course, because unpublished dispositions from our circuit
       are not precedential, see Ninth Circuit Rule 36-3(a), we are free to decide this issue in the first instance.
11     “Off-label” refers to using a drug to treat conditions other than those it was originally developed to treat.
12     The Second Circuit remanded, however, for the district court to consider individual claims based upon the plaintiffs’
       quantity effect damages theory. UFCW Local 1776, 620 F.3d at 136. The Second Circuit noted that “while that theory



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       cannot support class certification, it is not clear that the theory is not viable with respect to individual claims by some
       TPPs or other [individual] purchasers.” Id.
13     We note that all four of our sister circuits’ opinions may support the claims by individual patients who are plaintiffs in this
       case, not just the First and Third Circuits’ opinions. In Sidney Hillman, in holding that TPPs are too far removed from
       the drug manufacturer’s alleged wrongful conduct to satisfy the RICO proximate cause requirement, the Seventh Circuit
       implied that individual patients may be able to satisfy the proximate cause requirement, as they are the most directly
       injured party whose “health and financial costs come first in line temporally.” 873 F.3d at 576. And in UFCW Local 1776,
       although the Second Circuit reversed the district court’s class certification order because the plaintiffs could not satisfy
       RICO’s proximate cause requirement as a class, it remanded to the district court to consider in the first instance individual
       plaintiffs’ claims based upon the quantity effect damages theory. 620 F.3d at 136.


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